                          Fourth Court of Appeals
                                 San Antonio, Texas
                                     December 28, 2020

                                    No. 04-20-00515-CV

                         IN THE INTEREST OF V.S., A CHILD,

                 From the 285th Judicial District Court, Bexar County, Texas
                               Trial Court No. 2019PA00518
                    Honorable Charles E. Montemayor, Judge Presiding


                                       ORDER
        Appellant V.S.’s motion for extension of time to file his brief is GRANTED. Appellant
V.S.’s brief is due on or before January 5, 2021.


                                                  _________________________________
                                                  Irene Rios, Justice


       IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the said
court on this 28th day of December, 2020.



                                                  ___________________________________
                                                  MICHAEL A. CRUZ, Clerk of Court
